Case 3:99-cv-03018-CBK Document124 Filed 11/15/00 Page 1 of 39 PagelD #: 742

UNITED STATES DISTRICT COURT \QN
DISTRICT OF SOUTH DAKOTA
CENTRAL DIVISION

SOUTH DAKOTA FARM BUREAU, INC.,
SOUTH DAKOTA SHEEP GROWERS
ASSOCIATION, INC.; HAVERHALS
FEEDLOT, INC.; SJOVALL
FREDYARD, INC.; FRANK D.
BROST; DONALD TESCH; WILLIAM
A. AESCHLIMANN; SPEAR H.
RANCH, INC.; MARSTON HOLBEN,
MONTANA-DAKOTA UTILITIES CO.;
NORTHWESTERN PUBLIC SERVICE;
AND OTTER TAIL POWER COMPANY,

CIV. 99-3018-CBK

PLAINTIFFS,

-vs-
BIG STONE PARTNERS’ REPLY
BRIEF OPPOSING STATE
DEFENDANTS’ MOTION FOR
PARTIAL SUMMARY JUDGMENT

MARK W. BARNETT, IN HIS
OFFICIAL CAPACITY AS ATTORNEY
GENERAL OF SOUTH DAKOTA, AND
JOYCE HAZELTINE, IN HER
OFFICIAL CAPACITY AS SECRETARY
OF STATE OF SOUTH DAKOTA,

DEFENDANTS,
and
DAKOTA RURAL ACTION; AND

SOUTH DAKOTA RESOURCES
COALITION,

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Intervenors/Defendants.

Montana-Dakota Utilities Company (“MDU”), Northwestern Public
Service (“NWPS”) and Otter Tail Power Company (“Otter Tail”) (or
collectively, “Big Stone Partners”) provide this brief to the Court
opposing that portion of defendants Hazeltine and Barnett’s motion
for partial summary judgment addressing the ripeness issue as to
the factual basis for that portion of the Big Stone Partners’

claims that Amendment E violates the United States Constitution.
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SUMMARY OF ARGUMENT

The Big Stone Partners rely upon four factual scenarios to
demonstrate the unconstitutional impact of Amendment E upon certain
aspects of their business. Hazeltine and Barnett contend that one
of these scenarios lacks factual ripeness, presumably meaning that
those facts may not be considered in determining the constitutional
impact of Amendment E upon the Big Stone Partners. Hazeltine and
Barnett improperly focus on the factual ripeness of one aspect of
the ultimate issue, rather than focusing upon the fundamental
question of Amendment E’s unconstitutional impact upon the Big
Stone Partners’ business under all the applicable facts. Stated
another way, ripeness analysis deals with the question of whether
a controversy is ripe for adjudication, not whether some of the
facts relevant to the controversy are “ripe.” In any event, that
factual scenario dealing with deregulation of the utility industry
is neither hypothetical nor speculative and carries with it

sufficient operational inevitability to warrant consideration.

FACTS
It may well be that the impact of Amendment E upon the utility
industry was a consequence not intended by the drafters and
proponents of the enactment. (Brief Exhibit A, 414). Nonetheless,
the broad reach of Amendment E clearly impacts the utility
industry. Section 21 is broadly stated and prohibits corporations

not otherwise exempted under Section 22 from engaging in farming or
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owning any interest in real estate used for farming. None of the
exemptions in Section 22 apply to the Big Stone Partners, except
Subsection (10) which exempts agricultural land purchased for a
prospective nonfarming use, provided that the nonfarm use must be
developed within five years, and during the five-year period any of
that land not being put to a nonfarm use may only be used for
farming by leasing the property to a qualified entity. Section 24
requires divestiture after five years.

At least four factual situations exist under which Amendment E
impacts the Big Stone Partners, either as owners of the Big Stone

Plant or as utilities.

1. Impaired Value of the Big Stone Plant

The Big Stone Plant is comprised of approximately 2,100 acres,
of which approximately 705 acres are directly dedicated to
operation of the power plant. While the current structure of the
plant is grandfathered (Amendment E, Section 22(4)), any change in
the ownership regime will terminate grandfathering and subject the
plant to the provisions of Amendment E. (Ralph Brown depo, p. 9)
The plant is more valuable to the present owners in their current
ownership regime, than to a purchaser of one or more ownership
interests. (Rodney Leyendecker depo, p. 50). Even the Big Stone
Partners themselves could not restructure proportional ownership
among themselves, as they once did in 1986 (Mark Rolfes depo,

pp. 36 and 37). The value of the Big Stone Plant to the partners
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is impaired because the value of the plant to a purchaser is less
than the value of the plant to the existing partners in their
existing proportions. (Ralph Brown depo, p. 16; Ralph Brown expert
report, Brief Exhibit B).

According to Rodney Leyendecker of NWPS, the value of the land
at the Big Stone Plant to NWPS is impaired by 20 to 50 percent.

(Rodney Leyendecker depo, pp. 50, 51).

2. Future Generating Facilities Impaired.

The construction of future generating plants in the state of
South Dakota is severely restricted by Amendment E. The
restriction deals with the increased cost of developing new
generating facilities, when Amendment E restricts ownership (as
well as options) to five years when the development of a plant in
today’s environment is a 10 to 12 year process. (Bob Krava depo,

pp. 37, 38; Ralph Brown Expert Report, p. 4, Brief Exhibit B).

3. Future Transmission Line Construction
Is Impaired.

Current practice in the construction and maintenance of
electrical transmission lines is for the utility to acquire an
easement of 150 to 300 feet in width which permits the utility
access to the line and control over the easement for safety
purposes, but leaves maintenance of the land in the right-of-way
easement to the farmer who maintains the land and keeps it free of

weeds through his or her farming practices. (Bob Krava depo, pp.
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16-23). Presently, it is customary in the industry to obtain an
easement for about the price of the acquisition of fee title to the
land involved. (Bob Krava depo, pp. 32-36). Otter Tail’s Land
Management Director estimates that the cost for acquisition and
maintenance of rights-of-way under Amendment E will require the
company to purchase fee title and will increase the cost to the
company of 200 to 300 percent to obtain easements. (Bob Krava
depo, p. 34). To this will be added the cost of maintenance of the

property to control weeds and underbrush.

4. Amendment E Will Exacerbate Deregulation.

As of June, 2000, the District of Columbia and 24 states have
adopted some form of restructuring. (Response! 91 and Exhibit C)
Montana is one of these states, a state in which MDU does business.
(Response 41). Two components of restructuring are relevant to
consideration of Hazeltine and Barnett’s motion. First, each
utility business must have the flexibility to respond to the
requirements of restructuring in a manner which best suits that
individual company’s business objectives. This may or may not
include a sale or spinoff of transmission assets, but this
represents one consideration. The second consideration comes into
play when the restructuring order requires action on the part of
utilities, such as divestiture of generation assets (the Big Stone

Plant) or transmission assets. A sale or spinoff of the Big Stone

1Big Stone Partners’ Response to Defendants’ Statement of Material Facts
in Support of Defendants’ Motion for Partial Summary Judgment.

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Plant by one or more of the Big Stone Partners will adversely

affect them because of the value which can be obtained for the
ownership interest in the plant. (See discussion, supra, p. 3).

A sale or spinoff of transmission assets will be devastating
in terms of costs for all utilities in this state, including the
Big Stone Partners. Amendment E would apply to all existing
transmission assets which are either sold or spun off. This would
require the acquisition of fee title for easement properties at an
increased cost of 200 to 300 percent of what otherwise would be the
acquisition cost. The companies would be required to purchase fee
title to the land and exclude farming of the land after five years.

(Bob Krava depo, pp. 33-35, Brief Exhibit A, 417, 19, 21 and 23).

ARGUMENT AND AUTHORITIES

The State takes the unusual position that a particular set of
facts (deregulation) should be segregated from all the other facts
showing the adverse effect of Amendment E upon the Big Stone
Partners. The State asks the Court through summary judgment to
declare deregulation irrelevant to consideration of the issue.
This “factual ripeness” argument finds no basis in any of the cases
cited by the state. Each case examines all the facts relevant to
the ultimate issue of ripeness of the controversy in determining

whether the controversy is mature for resolution. Interestingly,

the Court in Meadows of West Memphis vs. City of West Memphis, 800

F2d 212 (8 Cir. 1986) specifically noted that the possible
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occurrence of other, future injuries, did not make the action
unripe. Id. at 215. In fact, the case bears a strong resemblance
to the situation of the Big Stone Partners in this case. It
involved a suit against West Memphis for blocking the issuance of
development bonds for at least a year with the developer losing
potential profits during that period. Here, the Big Stone Partners
have already seen the value of their generating plant diminished,
had a restriction on future land purchases imposed upon them and
seen their ability to construct new transmission facilities
impaired. Deregulation is immediately on the horizon.

Bob's Home Service, Inc. vs. Warren County, 755 F2d 625 (8th

Cir. 1985) involved an action for losses due to business
restrictions arising from a county master plan. The Appellate
Court reversed the District Court on the issue of ripeness and
found that there was an immediate injury that was redressable by
the relief requested. The court further specifically held that
additional factual development would not assist in resolving the

case.

While the State properly uses Pacific Gas & Electric vs.

Energy Resources Commission, 461 US 190 (1983) to state the
ripeness test accurately, that is, whether a hardship to the

parties exists if the matter is not adjudicated now and whether the
matter is appropriately resolved now (Id. at 201), the discussion

on page 201 of the decision recognizes the need for advance

planning, precisely the Big Stone Partners’ situation. After
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noting that the utilities would suffer substantial hardship from a

postponement of the decision, and after quoting from the Rail

Reorganization Act Cases that “one does not have to await the

consummation of threatened injury to obtain preventative
relief .. .,” the court concluded
To require the industry to proceed without knowing
whether the moratorium is valid would impose a palpable
and considerable hardship on the utilities, and may
ultimately work harm on the citizens of California. Id.
at 201, 202.
Restructuring of the utility industry is a valid concern of the Big
Stone Partners, as well as other South Dakota utilities, and they
should be entitled to know whether their analysis of the impact of
Amendment E is correct.

As noted above, it is unnecessary to wait for the inevitable

infliction of an injury to establish standing. Regional Rail

Reorganization Act Cases, 419 U.S. 102, 143 (1974). Injury is
inevitable in this case because the Big Stone Partners will buy or
sell property, whether because of deregulation or business
requirements and, because the Attorney General “shall” enforce
Amendment E (Section 24) they will be forced to divest. The Eighth
Circuit has previously recognized this principle in the context of
a preenforcement challenge to a mandatory excess premium

disbursement program in Minnesota. In Re: Worker’s Compensation

Refund, 46 F3d 813, 821-22 (8t* Cir. 1995). In response to the

State’s assertion that Section 10, the statute’s cost shifting
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provision, was not ripe because it had not been enforced, the Court
stated:
Section 10's payment provisions are mandatory, and no

reason exists to believe that it will not be enforced.
A small time delay before enforcement does not keep this

controversy from being ripe. (Citation to the Regional
Rail Reorganization Act Cases omitted). Id. at 821, 822.

This is but the other side of the coin of the State’s “factual
ripeness” argument. It is the sum total of the facts which
indicate whether the claim is mature. It is not an isolated,
partial set of facts which is either ripe or not ripe, but the
entire set of facts dealing with the claimed constitutional damage.

Finally, the courts draw a distinction among the cases as to
whether an issue is primarily legal, or factually intensive. If it
is factually intensive, ripeness is more difficult to demonstrate

than where a facial challenge is made. See, Hodel vs. Virginia

Surface Mining and Reclamation Association, 452 US 264, 283, 293-94

and Pacific Gas & Electric, supra, at 201-02. Clearly, this case

involves a facial challenge. The broad factual scenario logically
and easily contrasts the provisions of Amendment E.

Setting aside the “factual ripeness” issue for a moment, even
under the State’s view of the case, the issue of Amendment E’s
impact upon the utilities in a deregulated environment is ripe for
decision. The District of Columbia and 24 states have implemented
deregulation. At least 12 of those states have required, outright
or structurally, some form of divestiture comparable to the issues

raised by the Big Stone Partners. (Response $1). These are not
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theoretical requirements. Additionally, two bills were pending in

Congress as of June 9, 2000. (Response 91). As stated in the

Regional Rail Reorganization Act Cases, supra, it is unnecessary to
wait for the inevitable infliction of an injury to establish
standing. Deregulation is an issue which, in fairness, the Court

must consider.

CONCLUSION
The State has sought to fractionalize ripeness analysis for
the utilities. This approach is not supported by the relevant
cases on the subject. In any event, the issue of restructuring is
pervasive and legitimately part of the planning process of the
utilities. The State’s motion for summary judgment, seeking to
segregate facts related to deregulation, should be denied.
Dated this 8t day of November, 2000.
MAY, ADAM, GERDES & THOMPSON LIP
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CERTIFICATE OF SERVICE
David A. Gerdes, of May, Adam, Gerdes & Thompson LLP hereby

certifies that on the 8t* day of November, 2000, he mailed by United
States mail, first class postage thereon prepaid, a true and

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correct copy of the foregoing in the above-captioned action to the
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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
CENTRAL DIVISION

SOUTH DAKOTA FARM BUREAU, INC.,
SOUTH DAKOTA SHEEP GROWERS
ASSOCIATION, INC.; HAVERHALS
FEEDLOT, INC.; SJOVALL
FEEDYARD, INC.; FRANK D.
BROST; DONALD TESCH; WILLIAM
A. AESCHLIMANN; SPEAR H.
RANCH, INC.; MARSTON HOLBEN,
MONTANA-DAKOTA UTILITIES CO. ;
NORTHWESTERN PUBLIC SERVICE;
AND OTTER TAIL POWER COMPANY,

CIV. 99-3018-CBK

PLAINTIFF BIG STONE PARTNERS’
RESPONSE TO DEFENDANTS’
FIRST INTERROGATORIES,
REQUESTS FOR ADMISSION,
AND REQUESTS FOR PRODUCTION

PLAINTIFFS,

MARK W. BARNETT, IN HIS
OFFICIAL CAPACITY AS ATTORNEY
GENERAL OF SOUTH DAKOTA, AND
JOYCE HAZELTINE, IN HER
OFFICIAL CAPACITY AS SECRETARY
OF STATE OF SOUTH DAKOTA,

DEFENDANTS,
and

DAKOTA RURAL ACTION; AND
SOUTH DAKOTA RESOURCES

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COALITION, )
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Intervenors/Defendants.

Answering Defendants’ First Interrogatories, Requests for
Admission and Requests for Production, dated May 23, 2000, the Big
Stone Partners state as follows:

INTERROGATORIES AND REQUESTS FOR ADMISSION

1. Identify the person or persons answering these

interrogatories and requests for admissions, and all persons

assisting in their preparation, including:

a. Every person consulted in order to secure the requested
information;
b. Every person who furnished the information upon which the

responses are based;
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we

c. Every person who secured the information upon which the

responses are based;

d. Every person who prepared and participated in the

preparation of the responses; and

e. Every person involved in furnishing any subsequent

modifications to any responses to any of these

interrogatories or requests for admissions.

ANSWER. Todd Guerrero, Esquire, Office of General Counsel,

Otter Tail Power Company, 215 South Cascade Street, P.O. Box 496,

Fergus Falls, Minnesota, 56538-0496; Susan Anderson Bachman,

Attorney, NorthWestern Public Service, 125 South Dakota Avenue,

Sioux Falls, South Dakota, 57104; and Douglas W. Shulz, Senior

Attorney, Montana-Dakota Utilities Co., 400 North Fourth Street,

Bismarck, North Dakota, 58501.

Those consulted, furnishing information and = securing

information were: Mark Rolfes, Bernadeen Brutlag, Donald R. Ball,

Rodney Leyendecker and Bob Krava, all of whom have been deposed by

defendants.

2. Identify all potential witnesses you expect may be called

at trial who have not yet been disclosed in the Utilities FRCP 26

disclosures.

ANSWER. Presently, the witnesses proposed to be called by the

utility plaintiffs are those disclosed in the Big Stone Partners

initial disclosures, and those disclosed in the Big Stone Partners

expert disclosures.

3. Identify all witnesses you expect to call at trial

regarding regulation, deregulation, restructuring, “unbundling,” or

divestiture of the electric or natural gas industries and the

substance of the facts and/or opinions to which the witness is

expected to testify, and the grounds for any opinions.

ANSWER. See answer to interrogatory number 2. You have

deposed Mark Rolfes, Bernadeen Brutlag, Donald R. Ball, Rodney

Leyendecker and Bob Krava. If you wish to depose other disclosed

witnesses, they will be made available. Dr. Brown’s expert report
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copy of a letter written by counsel for the SDEUC to Daniel J.

Todd, President of the Municipal Attorneys Association. This

letter was written at the direction of the Board of Directors of

the SDEUC. Attached as Exhibit E are SDEUC minutes of December 11,
1997, and June 23, 1998, showing attention to the issue by the

Board.

12. Admit that the Attorney General’s official explanation

and description of Amendment E which was provided to the South

Dakota voters was accurate and true.

RESPONSE. That which is stated is accurate.

13. If your response to paragraph 12 is anything other than

an unqualified admission, state all facts upon which you rely for

your response, identify all persons having knowledge of those

facts, and identify all documents referring or relating in any way

to those facts.

ANSWER. While the ballot explanation is accurate as far as it

goes, it casts the impact of Amendment E in terms of “ownership of

c land.” In fact, if the plain language of Amendment E
recognized, it affects any “. . . interest, whether legal,

beneficial or otherwise, in real estate used for farming. . .”

is the unstated impact of Amendment E which damages the Big Stone

Partners.

14. Admit that Amendment E was not intended to apply to any

land for which any utility currently holds easements or to any

future purchase of easements for transmission lines, towers,

ingress and egress for utility maintenance.

or

RESPONSE. Witnesses supporting Amendment E have so testified.

15. If your response to paragraph 14 is anything other than

an unqualified admission, state all facts [upon] which you rely for

your response, identify all persons having knowledge of those

facts, and identify all documents referring or relating in any way

to those facts.

ANSWER. From the standpoint of the Big Stone Partners, this

case is about unintended consequences. Whether the proponents of
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Amendment E intended to affect utility easements is irrelevant to

the subject matter of the action.

16. Admit that the purpose of Amendment E is unrelated to

existing easements or the future purchase of easements

transmission lines, towers, or ingress and egress for utility

maintenance.
RESPONSE. Denied

17. If your response to paragraph 16 is anything other than

an unqualified admission, state all facts upon which you rely for

your response, identify all persons having knowledge of those

facts, and identify all documents referring or relating in any way

to those facts.

ANSWER. Amendment E relates to existing easements should

restructuring in the electric industry require a spinoff of

transmission assets, either from a regulatory standpoint or froma

business standpoint. It affects the future purchase of easements,

as testified to by those utility witnesses that have been deposed,

in driving up the price of the acquisition of utility easements.

18. Admit that the utilities have not performed

calculations (other than those disclosed in Dr. Brown's expert

report) which would show the extent of damages claimed

Paragraph 5 of the First Amended Complaint for Declaratory and

Injunctive Relief, -which alleges that “Amendment EK... will

greatly increase the cost of developing transmission facilities.”

RESPONSE. Denied

19. If your response to paragraph 18 is anything other than

an unqualified admission, state all facts upon which you rely for

your response, identify all persons having knowledge of those

facts, and identify all documents referring or relating in any way

to those facts.

ANSWER. The Big Stone Partners see no necessity to perform a

comprehensive study of the financial detriment which will flow to

utilities if Amendment E applies to transmission facilities.

damage is manifest, as testified to by witnesses Brutlag, Ball,

Leyendecker and Krava.
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20. Admit that the utilities have not calculated the number
of easements or total acreage of transmission line easements that
it claims are affected by Amendment E.

RESPONSE. Denied.

21. If your response to paragraph 20 is anything other than
an unqualified admission, state all facts upon which you rely for
your response, identify all persons having knowledge of those
facts, and identify all documents referring or relating in any way
to those facts.

ANSWER. MDU has determined that it has 1,317 electric
transmission easements in South Dakota.

Otter Tail has determined that it has a total of 2,880
easements in South Dakota, consisting of 613.68 miles of
transmission easement and 204.32 miles of distribution easement.
Otter Tail estimates that the transmission easements comprise 5,953
acres and the distribution easements comprise 247 acres.

22. Admit that there are currently no regulatory or legal
restrictions prohibiting the current title holder (Otter Tail Power
Company or the Utilities) from selling agricultural land adjacent
to the Big Stone facility to another power company for power
production, to a commercial business, to a qualified family farm
(as defined in Amendment E), or to an enterprise that is exempt
from Amendment E (as defined in Amendment E). *

RESPONSE. Denied.

23. If your response to paragraph 20 (sic) is anything other
than an unqualified admission, state all facts upon which you rely
for your response, identify all persons having knowledge of those
facts, and identify all documents referring or relating in any way
to those facts.

ANSWER. It is sheer sophistry to suggest that simply because
no regulatory body or statute prohibits the sale of agricultural
land, the Big Stone Partners or any of them are free to do so. As
stated in the complaint, and as stated by numerous witnesses, the
practical effect of Amendment E lessens the value of each company’s

interest in the Big Stone Plant because a sale of any interest will
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modify the existing estates in land owned by the partners, thus

destroying the grandfather in Amendment E. This will have an

adverse effect upon any purchaser.

24. Admit that none of the Utilities are currently planning

electric or natural gas transmission or electric generation

projects to be located in South Dakota and that no applications are

pending to any regulatory body for siting approval for any such

projects.

RESPONSE. Admitted, provided that planning is ongoing and

projects can be developed at any time.

25. If your response to paragraph 24 is anything other than

an ungualified admission, state all facts upon which you rely for

your response, identify all persons having knowledge of those

facts, and identify all documents referring or relating in any way

to those facts.
ANSWER. See answer to 24.

26. For each utility, explain whether it has been

violation of SDCL Ch. 47-9A and explain the circumstances of such

violation.
ANSWER. If Chapter 47-9A applies to utility easements,

raises a question of compliance with that chapter. However,

Big Stone Partners believe their leasing of the land held for

future expansion .at the Big Stone Plant would «comply with

Chapter 47-9A, because of SDCL § 47-9A-12.

27. For each utility, explain whether it relied on any

exemptions from SDCL Ch. 47-9A before November 1998, identifying

each exemption claimed.

ANSWER. No exemptions were relied upon. No enforcement was

ever pursued against the Big Stone Partners. Had it occurred, the

law could have easily been amended, because it was the belief of
the utilities that Chapter 47-9A was not intended to affect the

operation of utilities.
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Case 3:99-cv-03018-CBK Document 124 Filed 11/15/00 Page 20 of 39 PagelD #: 761

DAMAGES TO BIG STONE PARTNERS
AS RESULT OF THE PASSAGE OF AMENDMENT E

The Big Stone Power Plant, located in Grant County, South Dakota, is owned as

tenants in common by MDU, NWPS, and Otter Tail. The plant employs 76 workers with

an annual payroll (including benefits) of $5 million, and annual property tax payment of

$1.9 million. The Big Stone Power Plant owns approximately 2,100 acres, of which

approximately 1,350 acres are used by the present power plant operation. Currently,

552.8 acres, reserved for potential future development, are cash rented as farmland. The

1999 cash rent was $15,840.

Loss of Farm Rental Income

If the legal ownership of the Big Stone Plant were to change, the successor owner

or owners of the facility would be subject to the provisions of Amendment E. According to

the provisions of Amendment E, the successor owners would be required to convert the

farmland to non-farm use or divest themselves of the farmland within five years. The

economic losses suffered if the land has to be converted to nonfarm use (and left idle)

would be the present value of the lost farm rents. That is, after the five year time period

(deadline), the loss would be the present value of lost farm rents from that date forward.

That is:

n

PV of LOSS (farm rental) = 2 Rent,/(1+ D)"
T=6
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Where:
sS2%

Rent, = rent received from +;350-acres of farmland,

D = discount rate for converting future rents to present value,

T=6,...,n years.

Using the $15,840 annual cash rent, an 8 percent interest rate, and an assumed inflation
rate of 3 percent, the present value of the loss farm rental income over a 25 year, 50 year,
and 100 year time horizon is: $155,000, $221,000, and $246,000, respectively.

Legal ambiguities for successor owners in the interpretation of Amendment E about
whether the land could stand idle while awaiting development without divestment could
also impair the market value of the whole plant. Typically, a new generating facility
requires a planning, permitting, and construction time period of 10 or more years.
Impairment.of the value of land could occur if the land reserved for future development
must be divested within the five-year deadline, which would preclude future expansion.
While this uncertainty in the interpretation of Amendment E is not easily quantifiable it does
not preclude this as a potential source of damage. Clearly, it adversely affects the market

value of the plant in the hands of the present owners.

Transmission Lines

In the construction and operation of transmission facilities, electric utility companies
take transmission easements, which includes the land between poles or towers.
Transmission line easements are typically 100-foot wide strips traversing the property. To

minimize the cost of these easements to the utility (and ultimately the customer), farmers
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are allowed to farm the land between the poles and towers as they normally would.
Amendment E does not allow this for newly-constructed transmission lines because the
ownership of the land between poles or towers constitutes a beneficial interest in land
which cannot be retained for longer than five years. Therefore, the utility companies will
have to convert this land to solely nonfarm uses. Since this would preclude the farmer
from using this land for farming, it would sacrifice the earning potential of that farmland
completely.

Currently, the cost of acquiring a transmission line easement is a payment equal to
100 percent of fee title, with the farmer able to farm between towers. Under Amendment E
utilities will likely have to acquire fee title for new transmission corridors. If the farmer could
not farm the easement strip it would be very disruptive to the farming operation, would
raise the cost of land acquisition and would increase the need for condemnation (thus
adding more expense to the process). One company estimates this will add up to 200%
to the current cost of right of way acquisition. In some cases, fences.or barriers might
have to be installed to separate farm and non-farm land. This would add additional costs
of acquiring transmission line easements.

Deregulation and Restructuring

The forces of deregulation and restructuring occurring throughout the country will
ultimately have an impact in South Dakota. One likely result of restructuring would be the

separation of the generation, transmission, and distribution parts of the business. The sale
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or spin-off of the Big Stone Plant in any restructuring plan would greatly raise the cost due
to the Amendment E requirement of selling or holding idle the land set aside for future
development. Likewise, as shown above, the high cost of acquiring transmission line
easements would raise the cost of transmission facilities. That is, the creation of a new

transmission corporation would make all grandfathered transmission easements subject

to the terms of amendment E, and all easements would need to be reacquired.

Lost Economic Development Potential for South Dakota

All states operate in a competitive environment for new and expanding businesses.
Amendment E could damage South Dakota's competitiveness in the siting of new and
expanding electrical generation facilities. The siting of a generation facility in a state brings
great economic development opportunities to a state. Increased property and sales tax
base, expanded employment opportunities, increased sales and income for local
businesses are all benefits of economic development. The increased costs of idle land,
uncertainty of Amendment E, and increased transmission line costs“all reduce South
Dakota's potential for economic development in the siting of future generation facilities.
Furthermore, not only are new plants less likely to choose South Dakota as a site but also

the expansion of existing generation facilities is impaired by the various provisions of

Amendment E.
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Ralph Brown, July 24, 2¢

Pag
1 UWITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA 1 STIPULATION
2 CENTRAL DIVISION
2
3
3 It ia hereby stipulated and agreed, by and between
4 South Dakota Farm Bureau, Inc.;
South Dakota Sheep Growers 4 the above-named parties through their attorneys of
5 Association, Inc.; Haverhals
Feedlot, Inc.; Sjovall Feedyard, 5 record, whose appearances have been hereinabove noted,
6 Inc.; Frank D. Brost; Donald
Tesch; William A. Aeschlimann; 6 that the deposition of Ralph Brown may be taken at thig
7 Spear 8. Ranch, Inc.; Marston
Holben; Marson and Marian 7 time and place, that is, at the law offices of Woods,
8 Holben Family Trust;
Montana~Dakota Utilities Co.; a Fuller, Shultz & Smith, Sioux Falls, South Dakota, on
9 Northwestern Public Service;
10 and Otter Tail Power Company, 9 the 24th day of July, 2000, commencing at the hour of
11 Plaintiffs, 10 11:00 a.m.; said deposition taken before Carol Johnson,
12 cws— 11 RMR, a Notary Public within and for the State of South
Joyce Hazeltine, in her official -
13 capacity as Secretary of state of . 12 Dakota; said deposition taken for the purpose of
South Dakota, and Mark W. Barnett, ‘
14 in his official capacity as 13 discovery or for use at trial or for each of said
15 Attorney General of South Dakota, 14 purposes, and said deposition is taken in accordance
16 Defendants 15 with the applicable Rules of Civil Procedure as if take
17 ~and~ 16 pursuant to written notice. Insofar as counsel are
18 Dakota Rural Action and South 17 concerned, the reading and the signing of the transcri;
19 Dakota Resources Coalition, 18 by the witness are waived.
Defendant-Intervenors.
20 19
21 eee eee eee eae a ea ae hea ka 20 "eee ue eee
22 21
DEPOSITIOB OF
23 22
Ralph Browa
24 23 RALPH BROWN,
25 tee ee ee eke he aaah aa ee 24 called as a witness, having been first duly sworn,
25 testified as follows:
Page 2 Pay
1 APPEARANCES = Mr. David A. Gerdes
May, Adam, Gerdes ¢ Thompson 1 EXAMINATION BY MS. GIEDD:
2 Pierre, South Dakota ’ '
2 QDr. Brown, you've been deposed before, haven't you?
3 Attorney for Montana-Dakota Utilities
Co., Northwestern Public Service, 3 al have, yes.
4 Otter Tail Power Company. see . . .
4 Q And so you are familiar with some of the important thing:
5 Ms. Roxanne Giedd . .
Ms. Diane Best 3 like we can't talk at the same time?
6 Assistant Attorneys General
Pierre, South Dakota 6 Alam. «
7 .
Attorneys for Joyce Hazeltine and Mark 7 Q Right. You're an expert in economics?
8 W. Barnett.
8 a Yes.
3 Ms. Virginia Brannon
Earthlaw Are expert in iol
10 University of Denver 9 Q you an S0C10 ogy?
a Denver, Colorado 10 A No.
Attorney for Dakota Rural Action and What SOCi0ECO! iomi
12 South Dakota Resources Coalition. 11 Q t about 1 in cs?
13 ALSO PRESENT: Me. John Bixler 12 A Well, depends on how that is defined, but obviously over my
1A eneeentee 13 years as an economist I've done a variety of economic
1s INDEX OF EXAMINATIONS 14 studies, which some of those would be socioeconomic as well
16 By Ma. Giedd: Page 4 15 as economic.
W By Ms. Brannon: Page 21 16 MR. GERDES: Excuse me, counsel, why don't we have a
18 17 __ stipulation on the record for this deposition. I don't
19 INDEX OF EXHIBITS 18 think this was noticed, was it?
20 WOMBER DESCRIPTION pererewcen | 19 MS. GIEDD: No, it was not. That's fine.
21 41 Brown Report on Damages to Big Stone 6, 3 20 MR. GERDES: May it be stipulated that the deposition of
Partners ag Result of the Passage of ge .
22 Amendment E 21 Ralph Brown may be taken at this time and place, without
23 22 _priar notice, and for all purposes authorized by the
24 23 Federal Rules of Civil Procedure, and that insofar as
25 24 counsel are concerned, reading and signing of the
25 deposition by the deponent may be waived.
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1 A That's my understanding. 1 QI think that you said that the provision of Amendment E
2 @QDo you know what -- are they using the land for grazing or 2 that that's referring to would be Subsection 22-10?
3 for hay, or do you know? 3. A Yes.
4 a think in one of the agreements I saw the word "corn," so 4 qQ In this section of the report you do a calculation of a
5 I suspect they're -- well, I don't know exactly how they're 5 _ loss over three different time horizons, correct?
6 using the land in terms of cropping and pasture or 6 A That's correct.
7 ~~ whatever, but they're using it for agriculture uses, that's 7 QNow, am I correct that the loss you're calculating there is
8  -- that's obvious. 8 dependent upon the sale of the Big Stone property?
9 QOkay. You make a statement in Exhibit 41, this is right 9 aAYes. /
10 under - on Page 1, there's a section entitled "Loss of 10 Q And would you agree with me that if there is a sale, these
li Farm Rental Income," and the first sentence under that ll calculations are presuming that the new owners would not
12 says: “If the legal ownership of the Big Stone Plant were 12 immediately develop that land?
13. to change. . . ." 13. A Yes.
14 Now, is this entire section of your expert report based 14 Q Does this land that's being held for future development
15s upon that premise? 15 shave some intrinsic value over -- because it's being held
16 « My understanding is that Chapter 22, Subchapter 4 is a form 16 = far development that's over and above the value of the
17 of a grandfather clause. So if -- if the ownership stays 17 __ property for farming? Do you understand that question?
18 _as it is, it's not subject to provisions of Amendment E. 18 AI think what you're asking is -- is the potential value of
19 _—_sIf that were to change in some manner, ownership 19 that land greater than farmland value? Is that the
20 proportions or whatever, then my understanding is that it 20 = question you're asking?
21 would then invoke Subchapter, I think 10, which gives a 21 Q Well, basically is it worth more to whoever owns the Big
22 five-year period of time which it could be farmed, and then 22 Stone property than it would be just when —- as farmland?
23 after that it would have to -- it would be disposed of or 23. AI would think so.
24 ~~~ or they could no longer farm it, lease it or whatever as 24 Q And do you think that the -- that intrinsic value is
25 agriculture land. 25 probably more significant than the value of the land that
Page 10 Pag
1 QDr. Brown, all I'm — just to make sure I understand, the 1 could be -- the value of the land for a cash rental to
2 loss calculation you do in this section of your report is 2 farmers?
3 _ based on the idea that this would occur if the legal 3 AI think that's the same question.
4 — ownership of the Big Stone property changes, is that right? 4 QSo your answer would be you think so?
5 A That's right. 5 A Well, I think -- you asked me if the value of the land,
6 QOkay. Now, are you aware of any plans the Big Stone 6 intrinsic value of the land, was greater than its cash
7 ~~ Partners have to sell the facility at this time? 7 value of the rent, which obviously determines the value of
8 ANo. 8 the land as farmland. And so what you're asking is the
9 Qif there were any sale, certainly all the partners would 9 value of the land intrinsically more than its farmland
10 _—ihave to agree, isn't that right? 10 value, and the answer is yes.
11 A Yes. 11 QNow, does Section 22-10 in your understanding require th
12 MR. GERDES: That's objected to as calling for a legal 12 __ the land be divested within five years?
13 conclusion, without proper foundation. Answer if you can. 13 A Well, I'm no legal expert, and I don't see the word
14 al think so. 14 "divest" in Subsection 10. So I don't know.
15 Q Did Mr. Krava indicate to you that there was a sale that 15 QI think that your report refers to either selling the land
16 was a possibility at the current time? 16 within five years or keeping it idle. Are those the two
17 a Well, anything is possible, but he didn't indicate that 17 alternatives that —- to your understanding?
18 there was any current pending sale. 18 MR. GERDES: Or converting to non-farm use is what it
19 QNow, the next sentence of that section under "Loss of Farm [19 says.
20 ‘Rental Income" says, quote: “According to the provisions [20 Q So it's three things: You can cither sell it, convert it
21 of Amendment E, the successor owners would be required to |21 to non-farm use, ar hold it idle?
22 convert the farmland to non-farm use or divest themselves [22 A Well, let's read it. It says: "The econamic losses
23 of the farmland within five years." 23 suffered if the land has to be converted to non-farm use
24 Do you sce that sentence? 24 (and left idle)... ." You know, I'm reading ~-
25° Aldo. 25 "... convert the farmland to non-farm use or divest

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1 themselves of the farmland within five years." So — 1 land reserved for future development must be divested
2 QGo-- 2 within the five-year deadline. ..." Yeah. If we follow
3. A Go ahead. 3 the premise that the value of land had intrinsic value
4 Qs that two things, non-farm use, you have -- and left 4 greater than farmland and we had do divest it within five
5 idle, or are there three things, non-farm use, left idle, 5 _- years so we couldn't use it for that purpose, it would be
6 or sale? 6 an impairment of its value.
7 a Well, you could have non-farm use that isn't idle. So that 7 Q And where is this requirement that it be divested within
8 — would be one use. You could have non-farm use that's idle. 8 five years?
9 That would be a third -- or second, and then you would have 9 «As indicated, it doesn't say that in Subsection 10. I
10 _—_ divesting, but that would be a third. 10 __ think the legal interpretation is yet to be made by the
11 QOn Page 2 you indicate that a new generating facility 11 courts, and there are some who are concerned, particularly
12s requires a planning, permitting, and construction type 12 _ utilities, that it might be interpreted as if the
13s period of 10 or more years? 13 development doesn't take place within five years, one
14s Yes. 14 _ possibility could be that it would require the land be
15 QDo you see that section? 15 divested after that. They would have to divest themselves
16 ATI see that. . 16 — of the land. That's one possibility. As we indicated,
17. QIs that what information you received from Mr. Krava? 17 _ otherwise it could be idle, or it could be put into other
18 a Yes. 18 non-farm uses. So -- that’s my answer.
19 QDo you know how long it takes to construct a new generation |19 QSo you're not suggesting that they have to divest it. It
20 _— facility? 20 _ still goes back to the three possibilities we discussed
21 ANo. 21 earlier?
22 QIf this future land is developed at same point, do you know |22 a That's correct.
23. ~=whether some of the facilities at the present plant would 23 Q The last sentence of that paragraph states, quote:
24 ~—be able to be utilized? 24 ~~ ~=Clearly, it adversely affects the market value of the plant
25 «a Okay. Future land, you mean -- 25 in the hands of the present owners, end quote. Do you sec
Page 14 Page
1 QThe 552.8? 1 that line?
2 <A You asked me if the future land. I think you mean if the 2 «A Yes.
3 _ land would be developed in the future - would you restate 3 QDo you know what the market value of the plant is right
4 that again. 4 now?
5 QSorry. Okay. 5 ANo. No, I don't.
6 A That caught me right away, and then I forgot everything 6 QNow, are you suggesting that the market value of the plan
7 ~~ else from that point. 7 is adversely affected by the inability to rent 552.8 acres
8 QIf the 552.8 acres -- 8 for farming?
9 a Thank you.. 9 aA Yes.
10 Q-— are used to build an expansion or a new generation 10 Q And how - I mean, in terms of a percentage of the valuc «
11 facility on that, do you know whether some of the 11 the whole plant, what are we talking about?
12 _— facilities at the current Big Stone Plant could be utilized 12 aT haven't done any quantification of that. I don't know
13. sas part of the new generation facility? 13. what the current value of the plant is, so I couldn't
14 AI don't know that. 14 answer that question.
15 MR. GERDES: off the record. 15 QNow, your next section of your report entitled
16 (Off the record discussion.) 16 "Transmission Lines," as I understand it, assumes that
17 QOn Page 2 you state, quote: Impairment of the value of. 17 Amendment E would not allow farming to occur between
18 land could occur if the land reserved for future 18 poles and the towers, is that correct?
19 development must be divested within the five-ycar 19 « That's the interpretation that I've used in my report here,
20 ~— deadline. . . ." 20 —syes.
21 And just to make sure -- do you see that sentence, 21 Q Do you know what provision of Amendment E that's based on?
22 Doctor? 22 a Well-
23 A Give me some direction there. Which paragraph is it in? 23 MR. GERDES: First of all, I'll just object that it
24 Q The first full paragraph, five lines down. 24 calls for a legal conclusion. Go ahead and answer it if
25 A Okay. "Impairment of the value of the land could occur if 25° -youcan.

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6 FEEDLOT, INC.; SJOVALL FEEDYARD, 6 EXAMINATION BY MS. BEST .....- cee eee ee eseene $1
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7 TESCH; WILLIAM A. AESCHLIMANN; 7
SPEAR H. RANCH, INC.; MARSTON
8 HOLBEN; MARSON AND MARIAN 8
HOLBEN FAMILY TRUST;
9 MONTANA-DAKOTA UTILITIES CO.; 9
NORTHWESTERN PUBLIC SERVICE;
10 and OTTER TAIL POWER COMPANY, 10
li Plaintiffs, 11
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14 MARK W. BARNETT, in his official capacity 14 INDEX TO EXHIBITS
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va
20 Defendant~Intervenors. 20
21 * * * * * * . * * * * * * ¥ * * * 21
22 DEPOSITION OF 22
23 RODNEY LEYENDECKER 23
24 * * * * * * * * *. * . * * * . * a4
25 25
Page 2 Pag
1 APPEARANCES:
1 STIPULATION
2 Woods, Fuller, Shultz & Smith . .
Attorneys at Law 2 It is stipulated and agreed by and
3 300 South Phillips Avenue . .
Sioux Falls, South Dakota 57104 3 between the above-named parties, through their atton
4 By Mr. John Simko >
4 of record, whose appearances have been hereinabove
5 fer South Dakota Farm Bureau, Inc., South Dakota a
Sheep Growers Association, Haverhals Feedlot, Inc. 5 noted, that the deposition of Rodney Leyendecker, may be
6 Sjovall Feedyard, Inc., Frank D, Brost, Donald . . .
; Tesch, William A. Aeschlimann; 6 taken at this time and place, that is, at the offices of
: Tonner, Topin ¢ ing 7 May, Adam, Gerdes & Thompson, Pierre, South Dakota, o
P. ©. Box 1456 i
5 Be 0, Ox 1456 eg 7402 8 the 16th day of May, 2000, commencing at the hour :
1 By Mr. Thomas Tobin 9 4:00 p.m.; said deposition taken before JERRY MAY, ¢
for Spear H. Ranch, Inc.; Marston Holben; Marston 1 i i
W oe A eee ee gaan 10 Registered Professional Reporter and Notary Public
2 May, Adam, Gerdes & Thompson iH within and for the State of South Dakota; said
Attorneys at Law 1
B Attorneys at | 12 deposition taken for the purpose of discovery or for 1
Pierre, South Dakota 57501 - i i i
14 Be nme, bevid ne cecdes 13 at trial or for each of said purposes, and said
15 for Montana-Dakota Utilities Co., Northwestern 14 deposition 1S taken im accordance with the applicable
16 Public Service, Otter Tail Power Company; 15 Rules of Civil Procedure as if taken pursuant to writ!
South Dakota Attorney General 1
17 Attorneys at Law 16 notice.
500 Bast Capitol
18 Pierre, South Dakota 57501 17
19 By Ms. Diane Best & Ms. Roxanne Giedd 18 RODNEY LEYENDECKER,
20 for Joyce Hazeitine & Mark W. Barnett? 19 called as a witness, being first duly sworn, deposed a
Earthl : .
21 Attorneys at Law 20 said as follows:
University of Denver - Forbes House
22 1714 Poplar Street 21
Denver, Colorad 80220
23 By Ms. Virginia Brannon 22 EXAMINATION BY MS. BEST:
24 for Dakota Rural Action and South Dakota 23 Q. We are taking the deposition of Rodney
Res es Coalition.
as some “on 24 Leyendecker for the purpose of hearing testimony
eat Lee 1 Ath AT abi a TRELE OLL
we
Sewn

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‘Brost v. Hazeltine Multi-Page ™ Rodney Leyende
. 5/lé
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1 A. That's correct. 1 Q. And why?

2 Q. Did you have any dealings with Northwestern 2 A. Because obviously if we were selling part of

3 Public Service Company when you were president and CEO 3 our power plant, the buyer would be a power plant

4 of Northwestern Energy Corporation? 4 operator, therefore the land itself, and I know your

5 A. Provided regulatory consultation, rate 5 position is it is insignificant to the plant, it is

6 making, economic analysis. 6 significant to itself, the land would depreciate in

7 Q. So then the person who really would be the 7 value significantly, because there is no value for the

8 key person to talk to about easements would be somebody 8 matter of fact, as I understand the test of five years

9 on the operating side of Northwestern Public Service 9 or take no, or change the form of its use.

10 Company, is that correct? 10 Q. So are you saying that the value of the Big

11 A. And specifically the right-of-way guy, the 11 Stone plant to Northwestern would decrease by 40 t

12 guy that secures the rights-of-way. 12 percent?

13. Q And his name eludes you at the moment? 13. +A. The land, the land. Obviously the plant not.

14 A. At the moment it does. Age, I think. 14 Q. Just the land in question would decrease

15 Q. Starts with an H? 15 because of that loss of rental income in the amount ¢

16 <A. No, I said it is age I think. 16 approximately $3,500 a year?

17. Q. Mr. Leyendecker, I would like to direct your 17._~A. Yes, most certainly.

18 attention to Exhibit 2052 which is a letter by, excuse 18 EXAMINATION BY MS. BEST:

19 me, article in the Farmer's Union News titled Rural 19 Q. First of all, I referred throughout your

20 Electric Association Won't Oppose Amendment E. In the  |20 deposition to Northwestern Public Service Company

21 second paragraph, first sentence, it says the SDREA, 21 the parent company as Northwestern. Now I was tal

22 which stands for the South Dakota Rural Electric 22 about electric utility operations. You didn't

23 Association's legislative committee has voted to adopt a |23 understand that I was talking about Northwestern Energy

24 position of neutrality on Amendment E. Were you aware 24 natural gas marketing, did you?

25 of their position on Amendment E? 25. A. Northwestern Public Service Company was th
Page 50 Pagi

1 A. No. If] was, I have forgotten, but I would 1 original company commonly referred to as Northwestern,

2 say no. 2 assumed you were talking utility. The other one was

3. Q Do you have any knowledge as to how or why ‘|. 3 very specific.

4 they adopted a position of neutrality on Amendment E? | 4 Q. Then one other question is are you aware of

5 A. No, I would have to think of all the 5 anything that would prohibit Otter Tail and Big Ston

6 political ramifications before J come up with 6 partners from selling off those 552 acres over to the

7 conclusions on that. I don't have a conclusion at this 7 Big Stone Cheese plant, or to a new ethanol facility,

8 point. 8 something like that, commercial business?

9 MS. BRANNON: Thank you, that's all I 9 A. Am] aware of anything that would prohibit
10 have. 10 it? No. The only thing I would say is if we own it,
11 EXAMINATION BY MR. GERDES: 11 assume we own it for a reason. If that reason ceased
12. Q. One question hopefully. You had some 12 exist, I know of no reason we couldn't do it, but I
13 discussions about the value of the Big Stone partnership |13 would like to be on the buyer side of the negotiation:
14 interest. Hypothetically, given the fact that Amendment |i4 Q. Meaning if you have to divest, it would be
15 E has now been adopted, and let's say Western Public [15 essentially a fire sale and you would like to be the
16 Service Company wanted to sell its share in the Big 16 buyer, is that where you are going with that?

17 Stone plant, would you expect that a willing buyer would 17 +A. I am Saying that it obviously has an

18 pay more or less for that share now than before 18 impairment, so you would rather be a buyer than a x
19 Amendment E having been adopted. 19 in such a transaction.

20. +A. All other things being equal as you say, then 20 Q. Well, there is nothing to keep you from

21 I would say less, obviously. 21 selling it to a family farmer, is there?

22 EXAMINATION BY MS. BRANNON: 22 A. J again would like to be the buyer, not the

2 Q. I how much less in percentage terms? 23 seller.

24 A. With regard to the land? It would be a 24 MS. BEST: I have nothing further.

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14 MARK W. BARNETT, in his official capacity 14
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19 DAKOTA RESOURCES COALITION, 19 2051 Big Stone Plant Ownership
ye Agreement ...... teen e eee eter eter eee reeeens 25
20 Defendant-Intervenors. 20
21 * + * * * * + « * * + * * * + * . + 21
22 DEPOSITION OF 22
23 MARK ROLFES 23
24 * * * * * * * * * + * * * * * * * * * 24
25 25
Page 2 Pag
1 APPEARANCES:
1 STIPULATION
2 Woods, Fuller, Shultz & Smith . *
Attorneys at Law 2 It is stipulated and agreed by and
3 300 South Phillips Avenue . .
Sioux Falls, South Dakota 57104 3 between the above-named parties, through their atton
a By Mr. John Simko .
4 of record, whose appearances have been hereinabove
5 for South Dakota Farm Bureau, inc., South Dakota ae
Sheep Growers Association, Haverhals Feedlot, Inc. 5 noted, that the deposition of Mark Rolfes, may be tal
6 Sjovall Feedyard, Inc., Frank D, Brost, Donald . . . .
Tesch, William A. Aeschlimann; 6 at this time and place, that is, at the offices of May,
7
: Tonner, Tobin & King 7 Adam, Gerdes & Thompson, Pierre, South Dakota, on the
Attorneys at Law .
P. O. Box 1456 8 16th day of May, 2000, commencing at the hour of 11:30
9 Aberdeen, South Dakota 57402 . To
to By Mr. Thomas Tobin 9 a.m.; said deposition taken before JERRY MAY, a
for Spear H. Ranch, Inc.; Marston Holben; Marston 10 Registered Professional Reporter and Notary Public
il and Marian Holben Family Trust; thi d f th S ¢ S th Dak id
12 May, Adam, Gerdes & Thompson * 1] wi n an or c tate 0 Ou cota; sal
Attorneys at Law
B Attorneys at | 12 deposition taken for the purpose of discovery or for 1
Pierre, South Dakota 57501 1 1 1
u By Me, Dovid Re eetdes 13 at tal or for each of said purposes, and said
1s for Montana-Dakota Utilities co., Northwestern 14 deposition is taken in accordance with the applicable
16 Public Service, Otter Tail Power Company; 15 Rules of Civil Procedure as if taken pursuant to writ
South Dakota Attorney General 1
17 Attorneys at Law 16 notice.
500 Bast Capitol 17
18 Pierre, South Dakota 57501
19 By Ms. Diane Best & Ms. Roxanne Giedd 18 MARK ROLFES,
20 for Joyce Hazeitine & Mark W. Barnett 19 called as a witness, being first duly sworn, deposed a
Earthlaw * .
21 Attorneys at Law 20 said as follows:
University of Denver - Forbes House 21
22 1714 Poplar Street
Denver, Colorado 80220
23 By Ms. Virginia Brannon 22 EXAMINATION BY MS. BEST:
24 for Dakota Rural Action and South Dakota 23 Q. Mark, my name 1S Diane Best, I am an
Re urces Coalition. : .
25 “se “en 24 Assistant Attorney General, and I am representing thi
96 twa Canctititional Officers that are named as defendants
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Page 33 Pag
1  Q. At some point in time in that ten year 1 there have to be new transmission corridors to go alc
2 process you break ground and take the land out of ag 2 with the new transmission facility?
3 production, or a significant portion of it, isn't that 3. A. To the best of my knowledge on the existing
4 correct? 4 property that the plant owns there is sufficient, but
‘| 5 A. If things would go in the normal sequence or 5 once it leaves the boundary new corndors would ha
6 an expected sequence, yes. 6 be purchased.
7 Q. And it takes three to five years to build a 7  Q. So what you are saying is there would have to
8 plant? 8 be new transmission corridors as that new energy le:
9 <A. Correct. 9 the property and it would have to somehow intersect with
10  Q. So if you lease the ground for ag production 10 existing transmission facilities somewhere, correct?
11 for five years, and you don't start building until the 11 +A. All the studies we have done, new
12 sixth or seventh year, it is a year or two that the 12 transmission lines would have to be built.
13 ground would have to sit idle waiting for you to start [13 Q You talked about if there was a plant
14 turning ground on building the plant, is that basically [14 expansion, either with reference to the NSP request fc
15 what your position is? 15 proposal or for other reasons, this would involve
16 A. If you follow the sequence, and you are able 16 different ownership. Are you talking about a
17 to, not to get delays that extend it, yes. 17 reconfiguration of the existing ownership, or are you
18 Q. And if you don't get your regulatory 18 talking about a side by side ownership situation? Dx
19 authority, then yousdon't continue to own the land, 19 you understand my question?
20 correct? 20 A. You have to realize it is speculation on my
21. +A. That would be my assumption that you would 21 part, but the speculation is that the new facility woul
22 dispose of the land if you knew you weren't going to [22 have different ownership than the existing facility.
23 build. 23. Q. So it would stand side by side to the
24 MS. BEST: That's all. 24 existing ownership configuration, is that correct?
25 MR. GERDES: Let me ask just a few 25 A. That's correct.
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1 questions for clarification. 1 Q. Would there be a necessity to acquire more
2 EXAMINATION BY MR. GERDES: 2 land to put this expansion on?
3. Q. Mr. Rolfes, you indicated that the preference 3 A. The odds are very good that it would need
4 of the Big Stone partners would be to keep the property, | 4 additional land purchased.
5 there was a series of questions by Mrs. Best dealing 5 MR. GERDES: That's all I have.. Under
6 with you could sell the property, that kind of thing. 6 the rules you can read and sign the deposition or trus
7 What do you mean by the first preference would have been 7 in the accuracy of the Court Reporter and you can w
8 to keep the property, would be to keep the property, 8 the reading and signing. I would recommend that yo
9 excuse me? / 9 waive it, so you have to say on the record that you
10 A. Tf at all possible, we would keep the 10 waive the reading and signing.
11 property. 11 THE WITNESS: I agree to waive the
12. Q And then why? I think you have probably 12 reading.
13 already answered that, but I want you to tell me why you 13 MR. GERDES: I would like to put
14 want to keep the property, why that's your preference? [14 Mr. Rolfes back on the stand for one question I forg:
15 A. Because of a number of complications, one 15 to ask, specially since I feel you might want to cross
16 being future expansion which we have touched upon. The 16 examine on it.
17 other is still maintaining the buffer zone for noise, 17 EXAMINATION BY MR. GERDES:
18 dust, any other permitting, it is much simpler tohave [18 Q. Mr. Rolfes, has the ownership configuration
19 the land under our control than to have it sold with the /19 of the Big Stone plant changed since it was first put
20 possibility of residences being built there, or we would [20 into production?
21 lose control of what could be done with the land. 21. ~A«. Yes, it has,
22. Q. Another question. You talked about the 22 Q. And that happened when?
23 possibility that if there were an expansion of the plant [23 A. I believe it was 1986.
24 there would need to be new transmission. Are the 24 Q. Would you tell us how that occurred, please?
2% eurrant tranemiccian carridare onffiriant ar unnld m6 A Tt ie the came three numerc bit the

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A BW Ne OO DOH Dm PWN ES OO

Page 37
ownership percentage changed, Northwestern Public
Service sold roughly 10 percent of the plant with
roughly half going to Otter Tail and half going to MDU.

MR. GERDES: That's all I have.
EXAMINATION BY MS. BEST:

Q. Did the change in structure require
regulatory approval?

A. Oh, yes.

Q. State PUC approval?

A. I believe it was State PUC.

Q. Did that also require Federal Energy
Regulatory Commission approval?

A. I believe it did not.

Q. Nothing further.

EXAMINATION BY MR. GERDES:

Q. Why did NWPS sell that share, if you know?

A. To the best of my knowledge they felt they
had more facilities than they needed, and Otter Tail and
MDU were looking»for additional facilities, additional
resources, so it seemed to work very well.

MR. GERDES: Thank you very much.

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STATE OF SOUTH DAKOTA )

8S CERTIFICATE

COUNTY OF MINNEHAHA )

I, JERRY MAY, Court Reporter and Notary
Public within and for the State of South Dakota:

DO HEREBY CERTIFY that the witness was
first duly sworn by me to testify to the truth, the
whole truth, and nothing but the truth relative to the
matter under consideration and that the forgoing pages
1-37, inclusive are a true and correct transcript of my
stenotype notes made during the time of the taking of
the deposition of this witness.

I FURTHER CERTIFY that I am not an
attorney for, nor related to the parties to this action,
and that I am in no way interested in the outcome of
this action,

In testimony whereof, I have hereto set

my hand and official seal this 20th day of May, 2000.

NOTARY PUBLIC

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1 UNITED STATES DISTRICT COURT 1 INDEX TO EXAMINATIONS
2 DISTRICT OF SOUTH DAKOTA 2 EXAMINATION BY MS. BEST ..... cece eee e tenes 4
3 CENTRAL DIVISION 3 EXAMINATION BY MS. BRANNON .......00cccerees 14
4 4 EXAMINATION BY MS. BEST -... cece ees eee ece ee 28
SOUTH DAKOTA FARM BUREAU, INC.;
5 SOUTH DAKOTA SHEEP GROWERS 5 EXAMINATION BY MR. GERDES .....c0ecceeeeeeee 32
ASSOCIATION, INC.; HAVERHALS
6 FEEDLOT, INC.; SJOVALL FEEDYARD, 6 EXAMINATION BY MS. BRANNON .......--.-ee0005 398
iNC.; FRANK D. BROST; DONALD
7 TESCH; WILLIAM A. AESCHLIMANN; 7 EXAMINATION BY MR. SIMKO ...........00ccseae 38
SPEAR H. RANCH, INC.; MARSTON
8 HOLBEN; MARSON AND MARIAN 8
HOLBEN FAMILY TRUST;
9 MONTANA-DAKOTA UTILITIES CO.; 9
NORTHWESTERN PUBLIC SERVICE;
10 and OTTER TAIL POWER COMPANY, 10
ll Plaintiffs, 11
412 cvs- CIV. NG. 99-3018 12
13 GOYCE HAZELTINE, in her official capacity, 13 INDEX TO EXHIBITS
as Secretary of State of South Dakota, and
14 MARK W. BARNETT, in his official capacity 14
as Attorney General of South Dakota, 2053 Easement Form ........0020cceceeee 21
i5 15
Defendants.
16 16
1? And 17
18 18
DAKOTA RURAL ACTION and SOUTH
19 DAKOTA RESOURCES COALITION, 19
20 Defendant-Intervenors. 20
21 * * * * * * * * * * * ” * * * * * * 21 INDEX TO DOCUMENT REQUESTS
22 DEPOSITION OF 22 1 Data Request Reference ........+..0-0-5 38
23 ROBERT KRAVA 23
240 8 ee ee ee ee ee 24
25 25
Page 2 Page
1 . APPEARANCES:
1 STIPULATION
2 Woods, Fuller, Shultz & Smith . .
Attorneys at Law 2 Tt is stipulated and agreed by and
3 300 South Phillips Avenue . .
Sioux Falls, South Dakota 57104 3 between the above-named parties, through their attorne
4 By Mr. John Sinko .
4 of record, whose appearances have been hereinabove
5 for South Dakota Farm Bureau, Inc., South Dakota os
Sheep Growers Association, Haverhals Feedlot, Inc. 5 noted, that the deposition of Robert Krava, may be tak
6 Sjovall Feedyard, Inc., Frank D. Brost, Donald 7 “ .
Tesch, William A. Aeschlimann; 6 at this time and place, thaf is, at the offices of May,
7 . .
: Tonner, Tobin & Xing 7 Adam, Gerdes & Thompson, Pierre, South Dakota, on the
Attorneys at Law .
P.O. Box 1456 8 16th day of May, 2000, commencing at the hour of 2::
3 Aberdeen, South Dakota 57402 . ..
1 By Mr. Thomas Tobin 9 p.m.; said deposition taken before JERRY MAY, a
for Spear H. Ranch, Inc.; Marston Holben; Marston 10 Registered Professional Reporter and Notary Public
11 and Marian Holben Family Trust; co. .
11 within and for the State of South Dakota; said
12 May, Adam, Gerdes & Thompson oo f di f
Att tc Li
3 Attorneys at Law 12 deposition taken for the purpose of discovery or for us
Pierre, South Cakota 57501 13 at trial or for each of said purposes, and said
14 By Mr. David A. Gerdes ve . . . .
15 for Montana-Dakota Utilities Co., Northwestern 14 deposition 18 taken in accordance with the applicable
1 Public Service, Otter Tail Power Company? 15 Rules of Civil Procedure as if taken pursuant to writte
South Dak t 1 1
17 Attorneys at te Genera 16 notice.
500 East Capitol 17
18 Pierre, South Dakota 57501
B Ms. Di Best & Ms. Ri Giedd
19 y Ss ane es is oxanne 2 18 ROBERT KRAVA,
20 for Joyce Hazeltine & Mark W. Barnett; 19 called as a witness, being first duly sworn, deposed an
21 sAttorneys at Law 20 said as follows:
University of Denver - Forbes House
22 1714 Poplar Street 21
D , Col di 80220
23 By Ms. Virginia Brannon 22 EXAMINATION BY MS. BEST:
24 for Dakota Rural Action and South Dakota 23. Q. For the record, this deposition is being
2s Resources coalition. 24 taken on May 16 at the offices of May, Adam, Gerdes
25 Thompson in Pierre. South Dakota. The parties have

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1 need to be done for transmission lines for planned 1 A. Yes,
2 projects? 2 Q. And in relation to leasing land to farmers
3. A. Not that I am aware of. 3 around at the Big Stone plant, is that the only cost
4 Q. In other words, you don't have any sitting on 4 associated with, in other words, is that loss of income
5 your desk? 5 the only cost that comes to your mind, or are there
6 A. No, I don't have any sitting on my desk. 6 other problems as well?
7  Q. Have you been, your company takes the 7 A. Well, there has been a discussion that that
8 position that it will cost money to comply with 8 land may have to be sold if it is not farmed. I mean |
9 Amendment E with respect to transmission lines or 9 have heard that in discussions. _
10 easements for transmission lines. Have you been 10 Q Why is that, why would it have to be sold if
11 involved in any calculations of how much complying with [11 it is not farmed?
12 Amendment E will cost for procuring easements? 12. A. I am not sure.
13. A. No formal studies, no. 13. Q One of the allegations in the complaint, and
14 Q. What about informal, please discuss that 14 ] am trying to understand the factual basis for that, is
15 issue? 15 that sale of the plant would require successor owners 1
16 A. Ihave thought about it since this has come 16 divest themselves of those lands now held for future
17 to light, and in my opinion it would cost two to 17 development. I don't understand the factual basis for
18 probably three hundred percent more to acquire easements 18 that, and I was wondering if you could help me out?
19 for transmission lines. 19 A. No, Ican't.
20 Q. Have you yet been in the position where 20 Q. So based on your understanding, you could
21 acquisition of easements has doubled and tripled due to |21 hold onto the land as long as you are willing to forgo
22 Amendment E? 22 that rental income, is that correct?
23. +A. No, we haven't purchased any to my knowledge (23 A. I have heard discussions that that is one
24 since Amendment E has come in to light. 24 interpretation, another that it would have to be sold.
25. Q. Wouldn't you be the person that would be 25 Q. But you are not sure why it would have to be
Page 14 Page
1 aware of it if the cost of an easement doubled or 1 sold, is that correct?
2 tripled? 2 A. That's correct.
3. A. Yes, 3 Q. Let's move on to the transmission facilities
4 Q. So it's pretty safe to say that there haven't 4 and the easement issue, which is sort of the other,
5 been any yet, isn't that correct? 5 seems to me, based on the complaint, big issue probler
6 A. That's correct. 6 utilities are having with Amendment E.
7 MS. BEST: I am going to stop here, J 7 <A. Okay.
8 know Ginny has some questions. 8 QQ. My understanding is that the utility
9 EXAMINATION BY MS. BRANNON: 9 companies are concerned, Otter Tail specifically is
10 Q. Mr. Krava, I am Ginny Brannon, attorney for 10 concerned that Amendment E might increase the cost
11 Dakota Rural Action and South Dakota Resources 11 purchasing easements, is that correct?
12 Coalition. 12. A. Yes.
13. A. Okay. 13. Q And also that it might increase the cost of
14 Q. Ihave some follow-up questions. Not too 14 constructing and maintaining transmission facilities, is
15 many, but I indulge your patience if I covered something|15 that correct?
16 the State already covered because sometimes I need some 16 A. Yes.
17 clarification? 17. Q. Could you explain to me how it will increase
18 A. Okay, that's fine. 18 the cost of constructing and maintaining transmission
19 Q. I would like to talk first about farming 19 facilities?
20 around the Big Stone plant. 20 <A. Well, if it can't be farmed, there would be
21 A. Okay. 21 the maintenance or weed control, we would face that even
22. Q. What is the -- my understanding is that 22 on existing farmed right-of-way, because we do have ti
23 potentially there is a worry that you might lose out on {23 treat or chemically treat just the area around the pole
24 rental income from leasing land to farmers around the 24 that is not being farmed. This way if we can't farm th
25 Big Stone plant, is that correct? 25 100, 120 feet, 200 feet, denending on what the

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Page 17 Page

1 right-of-way width is for that specific line voltage or 1 facilities on. We have the right to basically go any

2 line size, or line construction method, the maintenance j 2 place on the farm to get to this construction site.

3 of that many acres is certainly going to be an 3 Whereas if we had to buy it, we would be in trespass

| 4 additional cost. As far as construction, typically you 4 unless we bought a lease for construction, or we are

5 can't construct a transmission line on the right-of-way | 5 granted some other method of getting there.

6 strip, so we would have to buy additional property todo} 6 Q. So you could buy an easement, for example, a

7 the construction from. Whereas in an easement 7 right-of-way easement just to get to the spot, get to

8 situation, we have the easement strip, and we also have | 8 the transmission corridor?

9 the right to enter on the rest of the encumbered 9 A. My understanding is we would have to buy an
10 property for construction purposes, maintenance 10 additional easement for ingress-egress at least, and for
11 purposes. 11 construction.

12 Q. Iam not following that, Mr. Krava. Could 12. Q. Mr. Krava, can you explain to me why you
13 you explain, I don't understand. 13 would necessarily have to buy the transmission corrid
14 A. Okay, which part? 14 in fee as opposed to simply paying a higher price for
15 Q. Let's take an example. 15 the easement based on the farmer's now inability to farm
16 A. Okay. 16 on that land?
17 Q. Let's say that you have got this say 100 foot 17.‘ A. I believe that is the only way we could
18 width transmission corridor, and you can't farm on it. |18 acquire it. I don't think they will give us an easemen!
i9 A. Right. 19 through that property, even paying more, if they are n
20 Q. Okay, what, how, first of all, how just 20 able to farm it.
21 practically are you going to work that? Are you just 21 Q. Has your company engaged in any discussions
22 going to do weed control along that area, is that the 22 with farmers on this issue?
23 only thing you would need to do, and then the farmer 23 A. No, we haven't.
24 could go back and forth across the land, or how would it/24 Q. So you are just speculating then?
25 work? 25 MR. GERDES: I will object to that as

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1 A. Iam speculating here because we don't have 1 argumentative. Go ahead and answer if you can. Are you

2 any instances that are actually in that situation. It 2 speculating?

3 depends on what we are required to do. There is talk 3. A. Based on my experience, no, ] am not

4 that it may have to be fenced, okay. That is an 4 speculating, that's the way I would see it playing out.

5 additional maintenance cost with the fencing, it also 5 Q. Mr. Krava, I think you told the State that

6 makes that land much more difficult to acquire if you 6 your estimation was that the cost of acquiring an

7 are basically separating the farmed say 160 acres and 7 easement would be two to three hundred percent more than

8 now separating in to two pieces so that they can't cross | 8 it currently is?

9 that strip. 9 A. Um-hum.

10 Q. Okay. 10 Q. What is it currently?

11. A. The acquisition will be in my opinion 11 A. Our current payments for easements are based
12 impossible except through an eminent domain or 12 on the land value for the easement strip, and then a
13 condemnation situation, based on experience. 13. structure payment which is reviewed basically annual
14 Q. Is there any other way, you were talking 14 So it's a combination of paying for the land encumbered,
15 before about having to buy additional land around, I 15 and then for each structure, or any part of the facility
16 wasn't following that. What were you talking about? 16 that is placed on that property.

17 A. I was talking about if we have to buy the 17 Q. How much do you typically pay, do you have :
18 strip, the right-of-way strip, whatever width it may be, |18 dollar estimate based on all of those factors?

19 in fee so that we actually own it, not an easement 19 A. No, I don't, I would have to have a specific

20 situation, typically we can't construct in what we buy 20 situation where we would know the land value, then I
21 as an easement strip. In the easement document there is |21 can, then I could give you that estimate of what it

22 a piece of land that is encumbered which may be 80 acres 22 would cost.

23 or 160 acres, whatever that landowner has title to, then [23  Q. I would like to introduce a document as an

24 there is also the legal description of this 100 or 24 Exhibit. This is an example of a nght-of-way easeme
25 whatever width strip that we have the right to place our |25 drafted by Otter Tail Power Company. It is not fillec
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1 Q Mr. Krava, do you have -- not with you, of

1 in, but it is an example of one drafted by Otter Tail
2 Power Company. Take a look at that. 2 course, but do you have examples of such contracts th:
3 3 would show other considerations for the easement beyond
4 (Krava Deposition Exhibit 2053 marked For 4 just this?
5 identification.) 5 A. Do we have other easement forms?
6 6 QQ. Yes, maybe even signed documents that are
7  Q. This example of a right-of-way easement 7 filled out?
8 contemplates consideration of the sum of $1.00 to give | 8 A. Oh, sure, we have in excess of 65,000
9 Otter Tail Power Company an easement for a period of 99 9 easement forms that are public record, recorded in eve
10 years. 10 courthouse that we operate in.
11 A. Okay, we have many different forms. Okay, li =Q Mr. Krava, how did you arrive at the
12 yes. 12 estimation that the increased costs to acquire an
13. Q._Is that correct? 13 easement would be two to three hundred times, percerr
14 +A. That's correct. 14 more than what it is now?
15 Q. So is this a typical example of a 15 A. Talking with some of the people in our
16 right-of-way easement? 16 department, we tried to arrive at some amount, but unt
17 ~A. ‘Yes, it is. 17 we actually go to court and have to pay for one I don't
18  Q. And what does this $1.00 mean then? 18 think that anyone knows that. It is just basically the
19 A. That is basically just a terminology on the 19 people in my department and myself discussing this issue
20 easement form. There is another form that goes with it |20 and how it would affect, our feelings as experienced
21 that is not recorded which is called a easement payment |21 acquirers of easements and real estate how it would
22 agreement. 22 affect it.
23 Q. Does this mean that Otter Tail pays the 23. Q. Is there anything in writing, any documents,
24 farmer $1.00 for an easement on their property for a 24 any studies, any data, any market analysis, anything?
25 period of 99 years? 25 +A. No, there is not.
Page 22 Page 2
1 A. No. 1 Q. Just based on conversations then, is that
2 Q. What does it mean? 2 correct?
3. A. The language that is used in most common 3 A. That's right.
4 easements. 4 Q. In the event of deregulation, what would be
5 Q. Iam sorry, I don't understand, Mr. Krava, 5 the harm to Otter Tail if deregulation or restructuring
6 what is the $1.00 for? “ 6 occurred, obviously in coffnection with Amendment E‘
7 A. There has to be some, there has to be a money 7 A. In my opinion the restructuring or
8 exchange for title to property, or partial title as an 8 transferring easement documents or real estate fee title
9 easement is, and it doesn't specify that you have to 9 to anew corporation would therefore make the easements
10 identify the full amount, but that there is a monetary 10 ‘invalid, so you lose the asset of however many thousan
11 exchange for the easement. 11 easements we would have in South Dakota.
12 Q. Yes, there needs to be consideration we call | 12 @Q. So then what would you do?
13 it, correct? 13. +A. My understanding is we would have to buy,
14 A. Right. 14 re-buy those existing facilities, locations, not
15 Q. And the consideration in this contract is 15 necessarily the poles and wires, but the real estate
16 $1.00, is that correct? 16 that it sits on, or the new corporation would have to.
17. A. $1.00 and other good and valuable 17 I am not saying we, Otter Tail Power Company, but th
18 consideration, yes. 18 new corporation, the new owner who had those easements
19 Q. Okay, what would constitute that other good 19 assigned.
20 and valuable consideration? 20 Q. And that is the factual basis for one of the
21 A. More money, could be conditions other than 21 allegations that is made in the complaint. There is
22 money such as cutting trees and leaving them for the 22 another allegation that is made in the complaint in
23 landowner, could be consideration of building an access /23 regard to deregulation, and I would like to see if you
24 road. There is many, many different other 24 can help me with the factual basis for it. It says
25 considerations. 25 there will be less money from the sale or spin off of
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. 5/16/
Page 29 Page
1 Register of Deeds? 1 power plant?
2 A. Yes, I do. 2 A. lam not aware of any appraisals. It was
3. Q Do you know what an easement consists of 3 acquired before I was employed by Otter Tail Power
4 versus a lease, versus some other land property 4 Company.
5 interest, correct? 5  Q. Do you have anything in the land office that
6 A. I don't know the legal interpretations of 6 would indicate what Otter Tail sees as the worth of th
7 what is a lease. I feel I have a good understanding of 7 plant, the value of the plant and real estate?
8 the easement process, yes. 8 A. Not in the land management office, no.
9  Q. Is an easement an interest in title? 9  Q So you don't have an inventory of utility
10 MR. GERDES: I object to that as calling 10 property with a value associated with it for the land
11 for a legal conclusion and without proper foundation. {11 management office?
12 If you know, you can answer it. 12 A. No, we don't.
13. A. Yes. 13. Q. That would be something more the depreciation
14 Q Is an easement a legal interest in real 14 people would have?
15 estate? 15 A. My understanding that would be the property
16 MR. GERDES: Same objection. 16 accounting area.
17. A. Yes, itis. 17 Q One question comes up, Otter Tail takes the
18 Q. Is there, I mean you have been in the 18 position now that its acquisition of easements, yeah,
19 easement business for a long time, is there a difference {19 acquisition of easements for land use for farming wot
20 in your mind between an easement interest in title and [20 violate Amendment E. Does it take a similar position
21 an easement interest in real estate? 21 with regard to the Family Farm Act that was previous
22 MR. GERDES: Same objection. Calls for a 22 in effect?
23 legal conclusion without proper foundation. 23 MR. GERDES: I object to that question as
24 +A. Can you restate that? Is there a difference? 24 misstating Otter Tail's position. Go ahead and answe
25 Q. We talked about an easement, were we talking 25 it if you can.
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1 about an easement being an interest in title, or an 1 MR. SIMKO: I also object because the
2 easement being an interest in land, or is it the same 2 Family Farm Act of 1974 is dramatically different th:
3 thing? 3 Amendment E, so the question is misleading.
4 MR. GERDES: Same objection, no proper 4 A. lam not aware of the Family Farm Act of
5 foundation. 5 1974, or whatever date, so I can't make a comparison.
6 A. My understanding of your question is an 6 Q. So the first time yot ever heard anything
7 easement gives you partial interest to that real estate. 7 about any easements, problems with corporate farmin;
8  Q. I want to ask you about this, who would be in 8 laws being a restriction on obtaining easements has to
9 a position to determine whether land has to be fenced 9 do with this Amendment E, that's the first time that

24
25

along the electric utility corridor, or excuse me, the
electricity transmission line corridor?

A. Who would determine if it had to be fenced?

Q. Yes.

A. Ihave no idea.

Q. That is not something you think you would be
negotiating with the individual farmer?

A. No. I think that that is something that
would have to be arrived at through the interpretation
of the law or Amendment E.

Q. And apparently that determination has not yet
been made in terms of Otter Tail Power Company's
operations?

A. Not to my knowledge.

Q. Then finally questions came up about the
power plant. Are there appraisals of the Big Stone

came up with Otter Tail?

A. Yes.

MS. BEST: I have nothing further.
EXAMINATION BY MR. GERDES:

Q. Mr. Krava, Mrs. Best just got done going
through your qualifications in that you have negotiate:
a large number of easements over the years, is that
correct?

A. That's correct.

Q. And over those years have you developed an
understanding as to the cost of those easements to Ott
Tail when they are negotiated?

A. Yes.

23 Q And have you developed an understanding of
24 the factors that go in to determining that cost?
25 =A. Yes.
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1  Q. And so you believe that you mght now as you 1 they came up with the figures that they were talking
2 sit there can take a look at a piece of property knowing | 2 about, is that correct?
3 the per acre value of that property and determine about | 3 A. Certainly.
| 4 what it should cost to buy a transmission easement? 4 MS. BRANNON: I have to object to this,
5 A. Once a survey has been conducted, yes. 5 Mr. Gerdes fed the deponent, Diane said, that did not
6 Q. Let's just say we are talking about a piece 6 come from the deponent's mouth.
7 of land that is worth $900 an acre, how much is it going | 7 MR. GERDES: Are you objecting to my
8 to cost you before Amendment E to acquire a transmission 8 question as leading?
9 line easement across that property? 9 MS. BRANNON: Yes, extremely.
10 A. $900 an acre, and I would have to know the, 10  Q. So, when you say two to three hundred percent

how much of the quarter, 80, 40, that we are crossing.

Q. Let's say you are going across a section of
land, 640 acres?

A. So 900 times about fourteen and a half acres,
and then that would be the land value of the easement.
The structure value of the easement payment would be
based on the number of structures placed on that. At
the current time that is $1,000 per two pole structure,
and then various down guys or guy wires would be
additional added in, and this is where the survey would
determine actually what facilities are placed on that
piece of property. So $900 an acre, I would look that
we would be paying, with a two pole 230 volt, just as an
example, I would look that we would be paying
approximately $20,000 if it is straight. If there is

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OU PB WN =| OO BAD HH PWN

then, what are you basing that on in terms of why are
you saying 200 percent rather than 100 percent, or 15(
percent, what is the thought process that you go
through?

A. The thought process is past jobs or past
16 easements that we have had to condemn where we couldn't
buy a voluntary easement, where we had to condemn 1
piece of property to acquire either the easement or fee,
and these were basically the amounts that were, you
know, we are talking about.

Q. When you are talking about acquiring the fee,
you are not talking about acquiring an easement in the
fee, you are talking about acquiring fee title, are you
not?

A. Yes, 1 am. When I am speaking fee, I am

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angles in the line, it would be considerably more based
on the number of angles and down guys associated with
that angle.

Q. How is that being paid, is it paid in one
lump sum, or how is it paid typically, again before
Amendment E? —

A. Typically it depends on the state.

Q. South Dakota?

A. South Dakota would be paid in a lump sum
payment.

Q. You have said that with Amendment E you
believe it would cost two to three hundred percent more
for that same transmission easement, correct?

A. Yes, that's correct.

Q. You were asked by Ms. Brannon whether or not
that was based on conversations. Actually that opinion
17 was based upon more than conversations, wasn't it?

18 A. It was based on conversations with my, with
19 people working.

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20 Q. Was it based on your experience?

21 +A. Based on my experience, overall the members
22 taking part in the conversation, I guess that is.

23. Q. And each of the members have had experience?
24 A. Why yes.

25 Q. And were able to think of for instances when

Page
talking about buying the real estate property. Otter
Tail Power or the subsidiary company that we are working
for is owning that in fee title, whereas easements
acquisition would be just a partial interest in that
fee.

Q. When we lawyers Were in law school and when
we talked about fee title, our property teacher talked
about owning the entire bundle of sticks, have you hav
ever heard that analogy?

A. Many times.

Q. And fee title is the whole bundle of sticks,
correct?

A. Fee title is the bundle of sticks remaining
at the time of acquisition, yes.

Q. And then easements and leases and whatever,
they are something less than the whole bundle of stick
would that be correct?

A. Yes.

Q. You were asked some questions by Ms. Best
concerning what you do for permitting and things like
that when you are acquiring land. Would it be true th
this whole process is done in consultation with legal
counsel?

A. Yes.

Q. You had a conversation with Ms. Brannon

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1 about, or excuse me, Mrs. Best about fencing. Assuming
2 that Amendment E were interpreted by the Court to say
3 that farmers could not have access to that corridor, how

A. Right.
Q. Have you also seen many warranty deeds where
title has actually been conveyed from a seller to a

buyer in which the consideration is recited within that

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on A A BP Ww

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Q. One follow-up, Mr. Krava. J am wondering if
you would be willing to produce at some future time an
example of, some examples of the easements you were
talking about? The only thing that we got was this form
Exhibit 2053 which is not even filled in, and it has the
consideration of $1.00 and then what would be attached
is the and other good and valuable considerations,
that's of course what I would be interested in?

MR. GERDES: We will take a look at it
and produce some.
EXAMINATION BY MR. SIMKO:
Q. Mr. Krava, you have seen thousands of

easements such as Exhibit 2053 in completed form?

the deposition of this witness.

I FURTHER CERTIFY that I am not an

attorney for, nor related to the parties to this action,

and that I am in no way interested in the outcome of

this action.
In testimony whereof, I have hereto set

my hand and official seal this 21st day of May, 2000.

NOTARY PUBLIC

1
2
3
4 would you keep them out, would you have to fence it? | 4
5 A. A fence would be one method. I don't know 5 warranty deed?
6 what other methods, they would have to be exploredif | 6 A. Yes, we write many warranty deeds.
7 they can't cross that piece of property. 7  Q Have you seen warranty deeds where the
8  Q. That would be an expense of developing a 8 purchase price for the property is hundreds of thousanc
9 power line easement that was affected by Amendment E,) 9 of dollars, and the title, the warranty deed says for
10 would it not? 10 $1.00 and other good and valuable consideration?
11 A. Yes. uA. Yes.
12 Q. Looking at Mr. MacFarlane's letter that you 12 MR. SIMKO: That's all I have.
13 and Ms. Brannon were talking about, when he is talking | 13 MR. GERDES: Do you waive the reading and
14 about a five year development for a power plant, he is [14 signing of the deposition.
15 talking about the fact that it would take more than five {15 THE WITNESS: Yes, I do.
16 years to develop a new facility with Amendment E being 16
17 in place. Read that paragraph, isn't that what he is 17
18 talking about? 18
19 A. I would, my opinion is that is what he is 19
20 talking about. He did not confer with me when he wrote!20
21 this. 21
22. Q. I just wanted to make sure that you and 22
23 Ms. Brannon were connecting up here in what he is 23
24 talking about. It is new power plants in general, not 24
25 talking about adding onto the Big Stone plant, is he? 25
. Page 38 Page
. . 1 STATE OF SOUTH DAKOTA )
1 A. I think when he states that it took longer
. : . 2 $8 CERTIFICATE
2 than five years to develop Big Stone, he was using that
. 3 COUNTY OF MINNEHAHA )
3 as an example that, from what I have heard prior even to '
4 today, that it is ten to twelve years for siting a ;
5 plant, and I think that is what he is referring to,
. . we 6 I, JERRY MAY, Court Reporter and Notary
6 although like I said, he wrote it. "
. . . 7 Public within and for the State of South Dakota:
7  Q. And it means what it says, right?
. 8 DO HEREBY CERTIFY that the witness was
8 <A. Yes, it does. ‘ ,
' ll I have thank 9 first duly sworn by me to testify to the truth, the
9 MR. GERDES: That Sa , 10 whole truth, and nothing but the truth relative to the
10 you. . 11 matter under consideration and that the forgoing pages
1 MS. BEST: Nothing else. 12 1-39, inclusive are a true and correct transcript of my
12 EXAMINATION BY MS. BRANNON: 13. stenotype notes made during the time of the taking of

